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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF KANSAS




 DENNIS C. AYER, DDS, LLC,

          Plaintiﬀ,

 v.                                            Case No.

 ZELIS HEALTHCARE, LLC;
 ZELIS CLAIMS INTEGRITY, LLC;                  JURY DEMAND
 UNITEDHEALTH GROUP, INC.;
 ELEVANCE HEALTH INC.;
 AETNA, INC.; and
 THE CIGNA GROUP,

          Defendants.




                           COMPLAINT—CLASS ACTION


      Plaintiﬀ Dennis C. Ayer, DDS, LLC brings this case against defendants Zelis

Healthcare, LLC, Zelis Claims Integrity, LLC (collectively, “Zelis”), on the one hand, and

defendants UnitedHealth Group, Inc., Elevance Health Inc., Aetna, Inc., and The Cigna

Group, and in support thereof states:
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                                   NATURE OF ACTION

   1. This case involves a price-ﬁxing conspiracy between Zelis and much of the

commercial healthcare insurance industry, including the defendant Insurers to

unlawfully suppress out-of-network (“OON”) payments to healthcare providers

(”Providers”), including both medical and dental providers (the “Zelis Conspiracy”).

Zelis and other insurer co-conspirators conspired to reduce payments OON services

through an industry practice known as “repricing.” Zelis agrees to provide its “repricing”

services to private, commercial health insurers, managed care organizations, third-party

administrators, preferred provider organization networks (“PPOs”), self-funded plans,

and self-insured entities (collectively, “Insurers”)—designed to systematically enable

these Insurers to underpay on claims submi6ed for OON services. Zelis, the Insurers, and

others share sensitive information and set reimbursement rates to enable Insurers to

suppress the reimbursements to Providers for claims submi6ed for OON services.

   2. Most people in the United States have some form of healthcare insurance, typically

a PPO or other healthcare plan that oﬀers a network of providers that pays for medical

services at diﬀerent rates depending on whether they are in-network or OON. While

patients typically select an in-network provider, the right to seek treatment from an OON

Provider is important to allow patients to choose their preferred doctor, facilitate access

to healthcare for people who live in areas where in-network options are limited, and oﬀer

important healthcare specialties that are not widely available.



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   3. Because Zelis sets the reimbursement rates for OON services so low, often below

operating costs, Providers must lose money or decline to provide care. Defendants’

anticompetitive conduct has forced many practices to stop oﬀering services, merge with

larger practices, or even consider closing down, thereby limiting access to health care.

   4. At a basic level, a PPO is simply a large network of approved providers who have

agreed to oﬀer services within their network at discounted rates. When an insured patient

receives OON care, per the terms of the patient’s particular policy, the Insurer is obligated

to pay for that care. Because the OON Provider has not agreed to treat OON patients at

discounted rates, Insurers conspired with Zelis to force OON Providers to accept

discounted rates without receiving any of the beneﬁts of being in a PPO network.

   5. By paying legitimate claims at a small fraction of the cost, Zelis, the Insurers, and

their co-conspirators inﬂict ﬁnancial harm on those providing OON care and competitive

harm to their practices. Since the outset of the alleged conspiracy, U.S. health insurance

costs have risen and continue to rise (while OON payment amounts have plummeted).

   6. While reducing doctors’ bills might sound like it would reduce the cost of

healthcare, that is neither the intent nor the eﬀect of this conspiracy. Zelis’ repricing has

not reduced the cost of healthcare—only increased the proﬁts of Insurers and Zelis.

Instead of reducing costs, Zelis’ anticompetitive conduct limits access to quality

healthcare generally and patients’ right to choose their own doctor speciﬁcally while

artiﬁcially inﬂating the proﬁts of Zelis and the Insurers with whom it conspires.



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                    JURISDICTION, VENUE, AND INTERSTATE COMMERCE

   7. This Court has subject ma6er jurisdiction under 15 U.S.C. § 26 and 28 U.S.C.

§§1331, 1333(d), and 1337(a).

   8. Venue is proper in this District under 15 U.S.C. §§15, 22, and 26; and 28 U.S.C. §

1391(b), (c), and (d), as one or more Defendants transacted business in this District, is

licensed to do business or is doing business in this District, and a substantial portion of

the aﬀected interstate commerce was carried out in this District.

   9. This Court has personal jurisdiction over all Defendants under 15. U.S.C. § 22 and

28 U.S.C. § 1391 because each Defendant: (a) transacted business throughout the U.S.,

including in this District; (b) paid healthcare providers throughout the U.S., including

from this District; (c) had substantial contacts with the U.S., including this District; and/or

(d) engaged in an antitrust conspiracy that was directed at and had a direct, foreseeable,

and intended eﬀect of causing injury to the business or property of persons residing in,

located in, or doing business in this District.

   10. Defendants’ anticompetitive conduct described herein was within the ﬂow of, was

intended to, and has direct, substantial, and reasonably foreseeable eﬀects on interstate

commerce because Zelis and its co-conspirators sell and market PPO Networks, PPO

Plans, insurance products and services, repricing products and services, and other related

products and services to persons who reside in states other than those where Zelis resides

through oﬃces and employees in various states, D.C., and U.S. territories.



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                                          PARTIES

I.       Plaintiﬀ

      11. Plaintiﬀ Dennis C. Ayer, DDS, LLC is a Kansas limited liability company with its

principal place of business in Leawood, Kansas. Throughout the Class Period, Plaintiﬀ

provided OON healthcare services and received repriced payments in amounts

established by Zelis below competitive rates because of the violations alleged herein.

II.      Defendants

      12. Defendant Zelis Healthcare, LLC is a Delaware limited liability company with its

principal place of business in Boston, Massachuse6s. Zelis Healthcare is the face of

“Zelis,” which is in actuality a myriad of corporate entities that begin with the

name“Zelis.” Zelis Healthcare owns and maintains a variety of websites concerning

“Zelis” that do not distinguish between its various corporate entities. Zelis Healthcare

disregards corporate formalities by disguising these corporate distinctions from public

view and uses each of its various Zelis entities to carry out the conspiracy. As a result,

each of the Zelis entities are joint venturers in the Zelis conspiracy and are liable for the

acts of each other Zelis entity.

      13. Defendant Zelis Claims Integrity, LLC is a Delaware limited liability company

with its principal place of business in Boston, Massachuse6s. Zelis Claims Integrity

interacts directly with healthcare providers, including Plaintiﬀ, to convey the “repriced”

reimbursement rates determined by Zelis and its co-conspirators.



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   14. Defendant UnitedHealth Group, Inc. (“UnitedHealth”) is a Delaware corporation

with its principal place of business in Eden Prairie, Minnesota. UnitedHealth is the largest

healthcare insurance company in the United States with a network of providers in all 50

states, operating through various health insurance plans.

   15. Defendant Elevance Health, Inc. (“Elevance”) f/k/a Anthem, Inc., is an Indiana

corporation with its principal place of business in Indianapolis, Indiana. Elevance is one

of the largest healthcare insurance companies in the United States with a nationwide

network of providers, operating through various Blue Cross and Blue Shield health

insurance plans.

   16. Defendant Aetna, Inc. (“Aetna”) is a Delaware corporation with its principal place

of business in Hartford, Connecticut. Aetna is one of the largest healthcare insurance

companies in the United States with a network of providers in all 50 states, operating

through various health insurance plans.

   17. Defendant The Cigna Group (“Cigna”) is a Delaware corporation with its principal

place of business in Bloomﬁeld, Connecticut. Cigna is one of the largest healthcare

insurance companies in the United States with a network of providers across the country,

operating through various health insurance plans.

   18. UnitedHealth, Elevance, Aetna, and Cigna (collectively, the “Insurer Defendants”)

have each entered into agreements with Zelis through which they share sensitive claims

information with Zelis and authorize Zelis to reprice OON claims.



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III.      Co-Conspirators and Agents.

       19. Zelis maintains information-sharing agreements with the Insurer Defendants,

other Insurers and other repricing entities, each of which serve as co-conspirators in this

price-ﬁxing conspiracy.

       20. Zelis is jointly and severally liable for the acts of their co-conspirators, whether

those co-conspirators are named as defendants or not.

       21. Zelis’ anticompetitive conduct was authorized, ordered, permi6ed, or performed

by their respective oﬃcers, agents, employees, or representatives, while actively engaged

in the control, direction, operations, or management of Defendants’ businesses and

aﬀairs. Defendants are also liable for conduct in furtherance of the conspiracy alleged

herein by companies acquired or transformed into Defendants through mergers and/or

acquisitions.

       22. Each Defendant, through its respective parents, subsidiaries, aﬃliates, and/or

agents, operated as a single uniﬁed entity.

       23. Each and every agent associated with a particular Defendant acted and/or failed

to act in furtherance of the conspiracy under the authority and apparent authority of its

respective principals, including of that particular Defendant.

       24. Each Defendant and co-conspirator acted as the principal, agent, or joint-venturer

of the other Defendants and co-conspirators with respect to the acts, violations and

common course of conduct alleged in this Complaint.



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                                        FACTUAL ALLEGATIONS

          25. Zelis’ price-ﬁxing conspiracy involves agreements with Insurers and other co-

conspirators to share claims, pricing, and contractual information to ﬁx and/or suppress

the payments to Providers for OON services, thereby reducing patients’ options for

medical care.

          26. A patient’s decision to use OON services is often based on the unavailability of the

procedure within that patient’s PPO. Patients are usually be6er oﬀ ﬁnancially when using

in-network healthcare services, meaning a patient deciding to “go out-of-network” is

often basing this decision on her or his PPO Network not providing network-based access

to a particular provider or a particular healthcare service at issue.

          27. A nationwide survey of 713 commercial plan enrollees, for “General Health care”

patients (as opposed to “Mental Health Care” patients) reported that 24% of patients cited

the reason that for seeking OON care as “Providers were not taking new patients.”1 In

the same survey, 22% of patients cited “Inaccurate in-network provider directories.”2

“General Health Care” patients simply could not access services or providers through

their PPO—even when they wanted to do so.3




1  See Top Reasons Patients Go Out of Network, Med Central (Mar. 31, 2024),
h6p://ww.medcentral.com/biz-policy/top-reasons-patients-go-out-of-network (last visited Aug.
23, 2024).
2   Id.
3   Id.


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          28. As listed by the Patient Advocate Foundation (“PAF”), there are various

circumstances where a patient might seek OON services, including for “Emergencies,”

“Distance Issues,” “Specialist Care,” and “Out-of-Town Care.”4 PAF noted speciﬁcally

that “[i]f you have a rare condition, specialists can be limited, so out-of-network care may

be your only option. Or if your treating specialist leaves your insurance network, you

may choose to continue that care by going out-of-network.”5

          29. Zelis, the Insurers, and other co-conspirators secretly agreed to suppress OON

payments by limiting them to speciﬁc amounts, ranges, percentages, or below certain

thresholds, as determined by concealed and “proprietary” analytical tools, databases,

and methodologies owned and operated by Zelis, as detailed herein.

          30. Zelis repriced OON claims by feeding its analytical tools not only with its own

pricing and claims data, but also conﬁdential, “proprietary,” and competitively-sensitive

claims, pricing, and contractual data from directly-competing Insurers.

          31. Defendants and their co-conspirators have applied collusively-determined

percentages, payment amounts, or price ceilings, a per se price-ﬁxing agreement in

violation of Section 1 of the Sherman Act has occurred.




4  The Ins and Outs of Seeking Our-of-Network Care, Patient Advocate Foundation,
h6ps://www.patientadvocate.org/wp-content/uploads/EP-Seeking-Out-of-Network-
Care.pdf#:~:text=Going%20out%2Dof%2Dnetwork%20means%20youʹre%20visiting%20a%20pr
ovider,coverage%20at%20all%20from%20your%20insurance%20provider (last visited Mar. 19,
2025).
5   Id.


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   32. The conspiracy involves several prongs.

          First, Zelis obtains conﬁdential, proprietary, and competitively-
           sensitive claims and pricing data from Insurers and then, with the
           Insurers’ agreement, uses that information to reprice and lower
           insurance reimbursements. Zelis provides maximum amounts or
           ceilings to supplant any calculations of a market rate.

          Second, the Insurers incentivize Zelis to maximize reductions in bills by
           paying it on a commission basis based on the diﬀerence between the
           amount billed and the amount paid.

          Third, Zelis has similar data-sharing agreements with other horizontal
           rival repricing companies.

          Fourth, Zelis itself acts as an Insurer and thus competes with Insurers
           with which it agrees to lower insurance reimbursements.

   33. Zelis acts as both a co-conspirator to the Insurers and as their agent. As the Insurers

delegate their independent pricing responsibility to Zelis for OON healthcare service

claims, Zelis acts within the scope of its authority as the Insurers’ agent when it reprices

OON claims. Starting in 2016, Insurers formally agreed to provide commercially sensitive

data to Zelis, knowing that Zelis was collecting similar data from competitors and using

it to reprice reimbursements paid by Zelis and co-conspirator Insurers.

   34. Absent a conspiracy, Zelis and other Insurers would compete to persuade

healthcare providers to join their PPO, so that, in turn, their insurance products would

interest employers and other consumers. Instead, Zelis and Insurers obtain substantial

repricing discounts without providing any beneﬁts to the Provider of being in-network.




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I.        History of Conspiratorial Payment Suppression in the Healthcare Industry

     A.      The Ingenix Conspiracy: 1997-2009

     35. From approximately 1997 to 2009, several healthcare insurers conspired to ﬁx

payment rates through a UnitedHealthcare Group subsidiary known as Ingenix, Inc.

     36. Before 1997, insurers paid OON providers through usual, customary, and

reasonable (“UCR”) rates as established by independent databases: Prevailing Healthcare

Charges System and Medical Data Resource developed in 1973 and 1987, respectively.

     37. Realizing that health insurers stood to proﬁt from underpaying OON providers,

Ingenix, Inc. purchased both of these databases, consolidating them around 2001 into a

new database called “Ingenix.”

     38. Vertically integrated with UnitedHealthcare, Ingenix was inherently conﬂicted. Its

database improperly included already heavily discounted in-network payment rates and

systematically removed otherwise valid, but higher, medical payment amounts. A New

York A6orney General (”NYAG”) investigation revealed that insurers would “pre-scrub”

data, eliminating certain comparatively higher payments before submi6ing the data to

Ingenix.6 As a result, Ingenix was populated with biased, improperly pooled, and

inaccurate data. Carolyn Gee, Ingenix Manager of Research and Development, testiﬁed

that “Ingenix has never tested its results to determine if its statistical conclusions bear any




6The Consumer Reimbursement System is Code Blue, New York A6orney General, (Jan. 13, 2009),
h6ps://www.leg.state.nv.us/App/InterimCommi6ee/REL/Document/19460.


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relationship to the actual high, low median or 80th percentile ... rates charged by health

care providers in any given area.” Michael Davekos, P.C. v. Liberty Mutual, 2008 Mass.App.

Div. 32, 36 WL 241613. Ingenix eliminated independent, UCR-based payment amounts.

       39. The NYAG investigation concluded that insurers—including UnitedHealthcare,

Aetna, and others—conspired to use the Ingenix database to understate UCR payment

rates for OON services by 10% to 28%.7

       40. In 2000, the American Medical Association, state-based medical associations, and

physicians and patients ﬁled lawsuits against insurers that used Ingenix for violating

antitrust laws. UnitedHealthcare se6led this litigation in 2009, agreeing to pay $350

million in a class action se6lement. See Am. Med. Assʹn v. United Healthcare Corp., 2009 WL

1437819, at *2 (S.D.N.Y. May 19, 2009).

       B.       The FAIR Health Database Period: 2010-2015

       41. In 2009, 12 of those insurers se6led with the NYAG and agreed to create an

unbiased, independent database designed to replace Ingenix.8 This new database became

known as FAIR Health and was released by mid-2010. Insurers agreed to use FAIR Health

exclusively for ﬁve years; thus, reliance on FAIR Health was short-lived.




7   Id. at 2.
8 Martha Graybow, UnitedHealth se,les New York Reimbursement probe, Reuters, (Jan. 13, 2009)
h6ps://www.reuters.com/article/markets/stocks/unitedhealth-se6les-new-york-reimbursement-
probe-
idUSTRE50C5V8/#:~:text=UnitedHealth%20was%20the%20only%20insurer,the%20New%20Yor
k%20Stock%20Exchange (last visited Mar. 19, 2025).


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    42. FAIR Health is an unbiased, non-proﬁt entity, designed to establish UCR payment

rates. These UCR rates were based, in part, on the performance of a particular medical

service in a particular geographic market. In contrast to tying commissions to the amount

“saved” by insurers, subscribers paid FAIR Health a ﬂat annual fee to access this data.

    43. Incorporating rules designed to prevent bias and pollution, FAIR Health caused

payment levels to course-correct, resulting in an approximate 26% increase in OON

payments. While half of that increase was apparently cost-of-living increases, the other

half represented the true-ing of the data determining OON payments.

    C.     Zelis, a New Conspirator in For-Proﬁt Repricing Systems: 2016 to Present

    44. Participating insurers disliked FAIR Health’s impact on OON payment levels.

    45. As the exclusive-use period expired, Insurers began replacing their reliance on

UCR payment amounts and FAIR Health. By mid-June 2016, hundreds of insurers had

replaced or added to FAIR Health with Premier Health Exchange, Inc. (“PHX”), now

Zelis. On June 13, 2016, around the time when FAIR Health’s exclusive use term expired,

Zelis issued a press release explaining that it “provides a comprehensive array of network

management, claims integrity, payment remi6ance solutions and analytical services for

medical, dental and workers’ compensation claims to over 500 payor clients.”9



9Newly Named Zelis Healthcare Introduced to Healthcare Community, Oﬀers Integrated Suite of Claims
Cost Containment and Payments Technology, Patheon Capital (June 13, 2016),
h6ps://www.parthenoncapital.com/news/newly-named-zelis-healthcare-introduced-to-
healthcare-community-oﬀers-integrated-suite-of-claims-cost-containment-and-payments-
technology/ (last visited Mar. 19, 2025).


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      46. Insurers (and Zelis) have earned vast proﬁts by returning to private, for-proﬁt,

proprietary repricing systems. Zelis boasts that its “platform serves more than 750 payers,

including the top 5 national health plans, BCBS insurers, regional health plans, TPAs and

self-insured employers....”10 Zelis “[p]artner[s] with over 770 insurance companies.”11

      D.    Competitive OON Payment Baseline Periods: Before 1997 and 2010-2015

      47. Certain competition-based OON pricing occurred during two time periods: (1)

before Ingenix’s arrival in 1997, and (2) during operation of FAIR Health from 2010-2015.

      48. In contrast, from around 2016 on, as Insurers migrated from FAIR Health to Zelis,

coordinated payment suppression for OON services became, once again, the norm.

II.    Zelis Provides “Repricing” Services Contrary to the Interests of Providers

      A.    Zelis’ Repricing Incentives

      49. Zelis’ repricing services reduce payments to OON Providers. Zelis “[l]everage[s]

[an] AI-powered dynamic optimization engine to ﬁnd quality recommended savings on

every claim [and] [o]ur AI-powered optimization engine uses dynamic routing to

examine every available saving channel to drive valued savings.”12




10 Zelis Named to Inc. 5000 List of Fastest-Growing Companies, Zelis (Aug. 13, 2024),
h6ps://www.zelis.com/news/zelis-named-to-inc-5000-list-of-fastest-growing-companies/ (last
visited Mar. 21, 2025).
11 Leading the way forward in modernizing your business, Zelis, h6ps://www.zelis.com/built-
for/payers/health-plans/ (last visited Mar. 19, 2025).
12Gain control of out-of-network costs with Zelis, Zelis, h6ps://www.zelis.com/solutions/out-of-
network-solutions/ (last visited Mar. 19, 2025).


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      50. Repricing does not involve any negotiation between Zelis and the Provider who

receives Zelis’ repriced OON payment amount. Although neutral sounding, “repricing”

of healthcare services goes only one direction: down.

      51. The following timeline reﬂects the expansion of Zelis’ empire.

             2003: While still named “Stratose®,” Zelis’ predecessor acquired a company
              called “PHX,” thus “integrating claims cost management strategies” into its
              “innovative wrap network solution” oﬀering.

             2012: Stratose® acquired “Pay-Plus Solutions,” thus “bringing payment
              innovations to our growing platform.”

             2015: Stratose® re-branded itself as Zelis, “promising a single-source solution
              to lower costs.”

             2017: Zelis acquired a series of companies, including Truven, Ethicare,
              Strenuus and the Maverest Dental Network.

             2018: Zelis acquired NetMinder.

             2019 - 2021: Zelis acquired RedCard in 2019 and Sapphire Digital in 2021.

             2022: Zelis acquired two entities. First, it “[e]xpanded Medicare capabilities,
              reference-based pricing, and payment integrity with acquisition of
              PayerCompass.” Second, it “[e]xpand[ed] payments network and capabilities
              with acquisition of PaySpan.” 13

      52. “The acquisition of Payspan gives Zelis capabilities around managing insurance

premium payouts, says Yusuf Qasim, president of payments optimization.”14




13   A Legacy of Impact Milestones, Zelis, h6ps://www.zelis.com/company/ (last visited Mar. 19, 2025).
14Zelis warms to large-scale M&A, Axios (Nov. 15, 2022), h6ps://www.axios.com/pro/health-tech-
deals/2022/11/15/zelis-warms-to-large-scale-ma (last visited Mar. 19, 2025).


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       53. Further, “Zelis generates around $450 million in EBITDA....”15 Data compilation

by “Grojo,” which cites articles dating from late April 2022 in its “Zelis News” section,

estimates Zelis’ annual revenue as “429.5M[.]”16 More recent data indicates that “[a]s of

January 2025, Zelis’ annual revenue reached $750M.”17

       54. As of fall 2024, Zelis was valued “at about $17 billion” with signiﬁcant private

equity owners including “Bain Capital and Parthenon Capital[.]”18 According to Zelis’

CEO, Amanda Eisel, “[p]rior to Zelis, [she] was an Operating Partner at Bain Capital

focused on technology and healthcare IT companies.”19

       55. As explained in a March 6, 2020 order, “‘Under Cigna’s Cost Savings Program,

Zelis and CHP are incentivized to drastically reduce claims amounts payable to providers

because the commission they receive is calculated as a percentage of savings.’” IJKG Opco

LLC v. Gen’l Trad. Co., No. 17-6131 (KM), 2020 WL 1074905, at *5 (D.N.J. Mar. 6, 2020).

       56. Zelis’ repricing incentive scheme is designed such that the less money that is paid

to OON Providers from an originally submi6ed claim, the more money Zelis receives.



15   Id.
16   Id.
17Zelis Revenue, leadiQ, h6ps://leadiq.com/c/zelis/5a1d8aad240000240064a2b3 (last visited Mar.
17, 2025).
18Michelle F. Davis et al., Mubadala Nears Deal to Buy Stake in Health Tech Firm Zelis, BNN
Bloomberg      (Oct.     21,    2024),     h6ps://www.bnnbloomberg.ca/business/company-
news/2024/10/21/mubadala-near-a-deal-to-buy-stake-in-health-tech-ﬁrm-zelis/ (last visited Mar.
19, 2025).
19 Amenda Eisel, Amenda Eisel, CEO: Why I joined Zelis, Zelis (Dec. 1, 2021),
h6ps://www.zelis.com/blog/amanda-eisel-why-i-joined-zelis/ (last visited Mar. 19, 2025).


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       B.       Zelis Directly Competes with its Insurer Co-Conspirators

       57. As a PPO network, Zelis directly competes with other Insurers.

       58. Zelis’ status as an Insurer is legally signiﬁcant because it engages in illegal sharing

of competitively-sensitive claims, pricing, and contractual information with horizontal

competitors, including other Insurers, at the moment when such information is shared,

and at every subsequent moment such information is shared thereafter.

       59. Zelis not only serves as a “payer,” but also as a healthcare network architect. Zelis

boasts that it can “[m]odel and build primary, secondary, wrap and specialty

networks[.]”20

       60. Zelis’ network-related expertise applies to “any type of network program,” even

workers’ compensation.”21 Zelis’ network business also includes dental networks: “Zelis

takes an integrated approach to reduce the cost and complexity of managing your dental

network ... .”22 Zelis also conﬁrms that it has its own “national dental provider network”:

“Leveraging our national dental provider network increases network access and savings

for your practice.” (emphasis added).23



20Zelis for Third Party Administrators, Zelis, h6ps://www.zelis.com/built-for/payers/third-party-
administrators/ (last visited Mar. 19, 2025).
21 Zelis for Property & Casualty, Zelis, h6ps://www.zelis.com/built-for/payers/property-and-
casualty-plans/ (last visited Mar. 19, 2025).
22    Zelis     for   Dental     Payers, Zelis, h6ps://www.zelis.com/built-for/payers/dental-
payer/#:~:text=Zelis%20takes%20an%20integrated%20approach,care%20at%20the%20right%20p
rice. (last visited Mar. 19, 2025).
23   Id.


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       61. Further, with respect to dental networks, Zelis describes itself as “the market

leader” in dental network services.24 Zelis notes that it has “the full suite of solutions for

dental payers: Network Analytics, Network Design, Network Access and Savings,

Payments and Communications.”25

III.         The “Repricing” Services Oﬀered by Zelis

       A.       Zelis’ Repricing Services

       62. On a simpliﬁed basis, Zelis’ “repricing” tools function as follows.

       63. Emergency Context: With respect to emergencies, a patient insured by one of Zelis’

Insurer clients/competitors receives emergency services from a Provider (e.g., Plaintiﬀ),

and the Provider submits a claim to the Insurer for emergency services rendered. If that

Provider does not have a pre-existing contract governing payment for emergency services

with that Insurer, the Insurer remains obligated to pay. Instead of paying the claim

directly, the Insurer sends it to Zelis. Zelis applies its “analytics” tools to “reprice” the

OON claim pursuant to their repricing agreement. Zelis then presents the Provider’s

now-repriced (downwardly adjusted) claim on a take-it-or-leave-it basis. If the Provider

does not “accept” the “repriced” amount, the best the provider can hope for is to engage

in time-pressured and one-sided “negotiations” or “an appeal.” These options often

result in delayed payment of the original OON claim or a further decreased amount.



24   Id.
25   Id.


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     64. Non-Emergency Context: A similar sequence exists for payment of non-

emergency OON claims. When a patient seeks healthcare services from an OON Provider

in a non-emergency se6ing, the OON provider has no obligation to treat the OON patient.

But OON care routinely occurs, at least partly based on the understanding that the patient

has some kind of health insurance and the Provider will be able to recoup at least some

of the costs of that healthcare from that insurer on an OON basis. As explained above,

Zelis then applies its “analytics” tools to “reprice” (that is, downwardly adjust) the claim.

     B.    Zelis’ Established Reimbursement Solution®, so-called “Market Pricing”

     65. Zelis has compiled a “proprietary fee schedule,” designated as its “Established

Reimbursement Schedule (ERS).” Butler v. Uniﬁed Life Ins. Co., 1:17-cv-00050, 2019 WL

5302491 (D. Mont. Aug. 9, 2019), ECF 88-9 at 7. Misleadingly, Zelis refers to ERS as

“Market-based Pricing.”26

     66. As explained by David Scanlan, Allied National, Inc.’s Director of Claims, Zelis’

ERS oﬀering is partly made up of “aggregated carrier based PPO rates, and known

provider PPO contract rates,” which, when used to pay OON Providers, make an

improperly-pooled and downwardly-biased payment data set. Id. at ECF 88-9 at 7-8.

     67. Scanlan conﬁrms that Zelis’ “ERS is currently used ... to price out-of-network/non-

PPO claims[.]” Id. at ECF 88-9 at 7-8.




26 Market-based Pricing with Zelis, Zelis, h6ps://www.zelis.com/solutions/out-of-network-
solutions/market-based-pricing/ (last visited Mar. 20, 2025).


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   68. Scanlan then described how CMS/Medicare payment rates are used and how ERS

payment rates compare:

       Traditionally Medicare is not representative of a commercial plan’s usual
       and customary payment. However, commercial plans often use a markup
       of Medicare (i.e., Medicare plus 25% or 50%) as its rate. ERS on average
       yields a payment range as a percent of Medicare between 150% - 225%.

Id. at ECF 88-9 at 9. By referencing Medicare prices in se6ing payment levels, Scanlan

conﬁrms that OON services can be discreetly priced through use of ERS.

   69. Scanlan then reported that “[a]mounts paid on the claims by Allied based on the

data Isight determinations are more than double the amount that would have been paid

under Medicare guidelines, and are 90% of the amount that would have been paid under

the ERS Zellis [sic] fee schedule representing market payment rates that providers

typically accept as payment for services.” Id. at ECF 88-9 at 10.

   70. Further, Zelis’ own Robert Jackson, Executive Vice President, Cost Management

Solutions at Zelis Healthcare testiﬁed:

       ERS is a proprietary fee schedule product oﬀered by Zelis, [which] uses—
       some of this is proprietary. It uses commercially available data sets that we
       purchase. It uses CMS or Medicare rate tables. We use our own claims data
       and PPO contracting data to build [a] market base[d] reimbursement
       schedule.

Butler, 1:17-cv-00050 (D. Mont. Oct. 5, 2018), ECF 118-11, at 3 (Jackson Depo. at 10:3-8).

Further, Zelis’ Jackson testiﬁed that “[f]or clients that use the ERS product, we receive

claims from those clients. And we will apply the fee schedule pricing contained within




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the ERS fee schedule to typically out-of-network claims.” Id. (Jackson Depo. at 10:9-17).

Mr. Jackson also testiﬁed that ERS is made up of “PPO contracting data.” Id.

       71. Mr. Jackson further explained that Zelis’ ERS product does not even “factor in”

what healthcare providers charge for their services:

             Q:     Now, does Zelis’ ERS fee schedule is based [sic] upon what providers
             agree to accept as opposed to what providers charge; is that accurate?

             A:    That is correct.

             Q:     Does the Zelis’ ERS Fee Schedule even factor in what providers
             actually charge for the services?

             A:    No.

Butler, 1:17-cv-00050 (D. Mont.) ECF 146-2 at 3 (Jackson Depo. at 19:17-19:23).

      C. Zelis’ Reference-Based Pricing (“RBP”) Service

       72. Beyond ERS, Zelis uses an RBP solution for repricing, which allows the insurer to

base repricing amounts oﬀ of a reference, like Medicare prices.

       73. Zelis markets RBP services as “[g]iv[ing] control back to your members by se6ing

maximum reimbursement amounts using pre-deﬁned prices to provide a controlled

savings model.”27 Zelis further explains that “Zelis Open Access Pricing® (RBP) sets

maximum reimbursement amounts using pre-deﬁned prices ....”28


27Elevate member experience with Zelis, Zelis h6ps://www.zelis.com/solutions/reference-based-
pricing-for-network-
replacement/#:~:text=Give%20control%20back%20to%20your,regulatory%20updates%2C%20an
d%20process%20pricing (last visited Mar. 19, 2025).
28   Id.


                                                 21
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       74. According to Zelis’ Kaitlin Howard, “[r]eference-based pricing sets a price limit

on certain medical services based on a reference point, such as the Medicare

reimbursement rate or the average cost of the service in a particular geographic area.”29

Ms. Howard then provides a speciﬁc example of how RBP functions: “For example, the

cost variance of an MRI might range between $800 - $4,000 (or more). But one could argue

that the quality of the procedure and care provided is essentially the same. RBP

eliminates the price variance with a set amount ....”30 Ms. Howard then conﬁrms that

Zelis’ repricing services can accommodate collusively-set and speciﬁed pricing: “Bo6om

line: RBP gives the control back to members by se ing maximum reimbursement amounts

using pre-deﬁned prices to provide a controlled saving model.” (emphasis added).31 Ms.

Howard then observed that RBP’s pre-deﬁned pricing feature allows Zelis’ “clients [to]

save up to 28% more than a traditional network plan and realize roughly 73% of savings

on individual healthcare claims.”32 RBP is used to apply traditional, collusively-

determined price amounts, pricing percentages, or price levels.




29 Kaitlin Howard, Reference-Based Pricing (ARBP): An overview, Zelis (Apr. 27, 2023),
h6ps://www.zelis.com/blog/rbp-an-
overview/#:~:text=Reference%2Dbased%20pricing%20sets%20a,%E2%80%93%20$4%2C000%20(
or%20more) (last visited Mar. 19, 2025).
30   Id.
31   Id.
32   Id.


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       75. Zelis is crystal clear about its “intent” in working with others to set prices: “The

intent is to provide an eﬀective tool to help stabilize the healthcare claims costs.”

(emphasis added).33 Zelis hopes that its “eﬀective tool to help stabilize the healthcare

caims costs” will “have a far reaching, ripple eﬀect throughout the entire healthcare

industry.”34

       76. Zelis conﬁrms the “inten[ded]” “eﬀective[ness]” of its RBP repricing service,

noting that “2MM+ RBP claims [are] repriced annually”; that its RBP repricing service

has resulted in “97% retained savings”; and that it has “<4% member and provider

inquiry rate.”35 Zelis further asserts its long-term experience in providing RBP services:

“15 years providing RBP solutions.”36

       77. Whether using ERS or RBP, it appears that a speciﬁed percentage, amount, or

ceiling included in an insurance policy can be accommodated by Zelis’ repricing analysis.

For example, no ma6er what Zelis calculates as the repriced amount via its ERS or RBP

methodologies, such methodologies can still be applied to an insurance policy’s

“Maximum Allowable Cost” (“MAC”)—including a collusively-determined MAC

amount.37




33   Id.
34   Id.
35   Id. at n.27.
36   Id.
37   Id.


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       D.      Zelis’ Repricing Amounts Are Not Proposals, Recommendations, or
               Suggestions

       78. Zelis boasts that Insurers retain Zelis’ “repricing” amounts approximately “97%”

of the time for its ERS product by providers.38 These “acceptance” rates result from the

widespread agreed participation (including by some 770 Insurers).

       79. Because of the widespread adoption of Zelis’ tools, technologies, and

methodologies, Providers have no reasonably available or practical alternatives and

virtually no negotiation leverage from which to upwardly adjust repriced claims.

       80. Zelis’ repricing communications and Insurer adoption rates allow for a ﬁnding of

Zelis’ joint and several liability for the price-ﬁxing eﬀorts of all members of the

conspiracy.

       81. Zelis’ downwardly-adjusted payment amounts are based on a delegation of

authority by Insurers to their repricing agent, Zelis, as part of their repricing contracts.

Indeed, a director of Allied National, Inc. (an Insurer) ﬁled a “Rebu6al Report” with the

District of Montana conﬁrming that Zelis determines the repricing amount: “Zelis

matches the claim to an eligibility ﬁle provided by Allied. If a match is found, Zelis

determines the reasonable and customary (R&C) charge for the medical service at issue.”

Butler, 1:17-cv-00050 (D. Mont. Sept. 5, 2018), ECF 101-5 (Scanlan Rebu6al Report), at 1

(emphasis added).




38   Id. at n.27.


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       82. In the vast majority of repricings, the Insurer authorizes Zelis to make the

repricing oﬀer and negotiate the OON claim on the Insurer’s behalf—automatically and

in complete abdication of the Insurer’s pricing authority to Zelis (a horizontally-

positioned competitor in the PPO Network space).39 This abdication of pricing authority

to a horizontally-positioned competitor itself violates Section 1 of the Sherman Act.

       83. Zelis’ communications of its repriced OON payments do not represent just a

beginning or “starting point” to a pricing negotiation. In the vast majority of

circumstances, the repricing communication is the ﬁnal, take-it-or-leave-it amount.

       E.       Zelis’ Post-Repricing Claims Negotiation and Appeals Process

       84. Zelis conﬂates a Providers’ “acceptance” of its repricing amounts with an absence

of inquiry. For example, Zelis advertises that its ERS service results in an “inquiry rate”

of under “10%” and its RBP service as having a “<4% member and provider inquiry

rate.”40

       85. With respect to its “Out-of-Network claims” solutions, Zelis oﬀers “Expert

Negotiations,” which it characterizes as providing the ability to “[b]lend human expertise

and advanced technology to deliver high quality savings by identifying the right claims




39 Even if the communicated payment could be considered a mere “recommendation” or a
proposed “starting point” for a subsequent multi-round OON payment-related negotiation, such
a price-ﬁxed “starting point” remains illegal price ﬁxing. See In re Google Play Store Antitrust Litig.,
No. 21-md-02981-JD, 2022 WL 172587, at *12 (N.D. Cal. Nov. 28, 2022) (explaining that price ﬁxing
impacts all market participants even when prices are individually negotiated).
40   Id.


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for negotiation after services have been rendered.”41 Zelis also claims to have “25 years’

experience with provider negotiation, contracting and se6lement.”42

       86. Zelis shows that its “Claims Negotiations” result in even greater “savings” for the

Insurer: “We use advanced technology to identify eligible claims, averaging 60+% savings

from negotiations.” (emphasis added).43

       87. To the extent that a Provider objects to the repriced payment amounts, otherwise

responsible Insurers enforce Zelis’ pricing determinations and evade upwards

adjustments by referring objecting Providers back to Zelis.

IV.         The Relevant Geographic and Service Markets.

       88. Plaintiﬀ deﬁnes the applicable product and geographic markets as follows.

       A.      Relevant Geographic Market

       89. Section 1 of the Sherman Act requires no market deﬁnition for a conspiracy to be

adequately alleged. Still, the relevant geographic market is composed of all ﬁfty States of

the U.S., the District of Columbia, and all U.S. territories where providers are paid for

OON services by Zelis or Insurers.




41 Claims Negotiations with Zelis, Zelis, h6ps://www.zelis.com/solutions/out-of-network-
solutions/out-of-network-claims/ (last visited Mar. 19, 2025).
42   Id. at n.27.
43   Id. at n.46.


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   B.     Relevant Product Market

   90. The relevant product market is the market for OON healthcare services oﬀered by

Providers as deﬁned herein.

   91. A relevant product market under the Sherman Act is composed of commodities,

including services, that are reasonably interchangeable by consumers for the same

purposes. A properly deﬁned market excludes other potential suppliers (1) whose

product is too diﬀerent (product dimension) or too far away (geographic dimension) and

(2) who are not likely to shift promptly to oﬀer a defendant’s customers a suitably

proximate (in both product and geographic terms) alternative. Boundaries of that product

or service market are determined by the reasonable interchangeability of use or cross-

elasticity of demand between the product and substitutes for it.

   92. A “product market” can consist of services (a “service market”), as alleged herein.

   93. In the context of Clayton Act enforcement, a “cluster” of services can support a

product or service market deﬁnition. United States v. Philadelphia Nat’l Bank, 374 U.S. 321,

356 (1963) (footnotes and internal quotation citation); see also United States v. Phillipsburg

Nat’l Bank & Trust Co., 399 U.S. 350, 361 (1970) (footnote omi6ed).

   94. Zelis and others have treated the market for OON healthcare services sold by

Providers and paid for by Insurers as a distinguishable and supportable market for

purposes of deﬁning a relevant product or service market.




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      95. The OON insurer market is also a separate, distinguishable market from the

general private commercial insurance market, which includes both OON healthcare

services and the payment of in-network healthcare services. Private, in-network

healthcare services are often paid by insurers as part of a PPO.

      96. The OON insurer market is comprised of a “bundle” or “cluster” of healthcare

products and services. A patient may undergo various tests and procedures, sometimes

in combination, which would not be practical or reasonable to negotiate on a test-by-test,

procedure-by-procedure, or an in-combination basis. Further, such diagnostic-steps

and/or treatments might need to be applied serially, in a speciﬁc sequence, or within a

speciﬁc timeframe, rendering it impossible for a patient to “negotiate” on a service-by-

service basis. A cluster or bundle-based product or service market is appropriate here.

      97. As access to certain providers or procedures is often unavailable within a given

PPO, in-network services and OON services are not reasonably interchangeable.

      98. Indeed, Zelis treats the OON insurer market as a separate, distinguishable market,

legally suﬃcient for antitrust purposes. For example, as illustrated below, Zelis separates

its “In-Network Pricing” oﬀerings from its “Out-of-Network Solutions”:




OON and in-network solutions are distinct areas of Zelis’ “purpose-built solutions.”44


44   Solutions, Zelis, h6ps://www.zelis.com/solutions/network-solutions/ (last visited Mar. 19, 2025).


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     99. Moreover, others, including David C. Lewis, Principal of Milliman (at least

previously one of the providers of healthcare-related data to Zelis), have recognized the

relationship between Insurers and OON providers to be a “market.” Emphasizing the

control of OON costs as an overall component of an insurer’s business, Mr. Lewis noted

that:

          Commercial out-of-network (OON) provider reimbursement is a topic of
          great debate in healthcare. Changes on both the payer and provider sides
          have produced a large disparity in the OON payment levels pursued by
          each. Payers seek ways to limit growth in OON costs while providers look
          to maintain revenue in a market with increasing pressure to accept lower
          payments. (emphases added). 45

     100.       As Zelis and at least one of its data brokers have treated the OON insurer

market as a separate, distinguishable market, it is appropriate to regard this market as a

suﬃcient basis, to the extent necessary, to plead a Sherman Act violation.

     C.      Zelis Has Market Power and Monopsony Power in the Relevant Market.

     101.       A plaintiﬀ is not required to assert that defendants possess market,

monopoly, or monopsony power to allege a price-ﬁxing violation of Section 1 of the

Sherman Act. Nevertheless, as outlined below, Zelis possesses market power and

monopsony power.




45David C. Lewis, The changing landscape of out-of-network reimbursement, Milliman (Sept. 2018),
h6ps://edge.sitecorecloud.io/millimaninc5660-milliman6442-prod27d5-
0001/media/Milliman/importedﬁles/uploadedFiles/insight/2018/changing-landscape-oon-
reimbursement.pdf at 1 (last visited Mar. 19, 2025).


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       102.         First, on a transaction basis, Zelis explains that its payments platform, Zelis

Advanced Payment Platform (“ZAPP”), “supports all payment modalities ... and

communications,” and which “delivers payments to 750k+ providers,” “delivers more

than $240B in payments to providers,” and “processes 1B payment transactions

annually.”46 Zelis notes that it is responsible for “$100B claims priced annually,” “$229B

payments processed annually,” “ resulting in $27B claims cost savings.”47 Zelis has also

asserted that it “delivered” “800 million claims communications....”48

       103.         In terms of business relationships, Zelis asserts that it “works for 770 health

insurance companies, ranging from national carriers and dental plans, to BCBS and

regional plans, to third-party administrators.”49 Zelis maintains a “platform [that] serves

… the top 5 national health plans.” (emphasis added).50 According to the AAMC,

“[o]verall, our data show that ... the top three large-group insurers hold an average of

82.2% of the market share in each state.” Id. (emphasis in original).51


46     Modernize    your      healthcare    payments       &       communications,           Zelis,
h6ps://www.zelis.com/solutions/payments-optimization/ (last visited Mar. 20, 2025).
47   Id.
48   Id.
49      Your      success   is       our  success,  Zelis,    h6ps://www.zelis.com/built
for/#:~:text=Zelis%20works%20for%20770%20health,balance%20access%20with%20ﬁnancial%20
performance (last visited Mar. 19, 2025).
50   Id. at n.14.
51See AAMC study examines the impact of health care consolidation in state, American Hospital
Association (May 1, 2024),
h6ps://www.aha.org/news/headline/2024-05-01-aamc-study-examines-impact-health-care-
consolidation-states (last visited Mar. 19, 2025).


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     104.        Based on its business relationships with the top 5 national health plans and

Zelis’ available transaction-related data, it is reasonable to conclude that Zelis’ market

share in the OON insurer market is signiﬁcantly above 65.5%, and likely above 82.2%.

     105.        According to the National Association of Insurance Commissioners

(“NAIC”), “[t]he number of health insurers ﬁling the health statement type with the

NAIC increased to 1,176 from 1,165 in 2022.”52

     106.        Moreover, according to the AAMC (American Association of Medical

Colleges) Research and Action Institute analysis, there continues to be signiﬁcant insurer

consolidation, giving rise to “concern among policymakers about increasing

consolidation in the U.S. health care system.”53

     D.        Anticompetitive Acts and the OON Payment Suppression Conspiracy

          1.     Zelis and its Co-Conspirators Have Executed an Information Sharing,
                 Price Fixing, and OON Payment Suppression Conspiracy.




52  U.S.     Health     Insurance     Industry    Analysis    Report,  NAIC       (Dec.    2023),
h6ps://content.naic.org/sites/default/ﬁles/topics-industry-snapshot-analysis-reports-2023-
annual-report-health.pdf at 1 (last visited Mar. 19, 2025).
53See Atul Grover, MD, PhD, et al., Why Market Power Ma,ers for Patients, Insurers, and Hospitals,
AAMC (May 1, 2024),
h6ps://www.aamcresearchinstitute.org/our-work/data-snapshot/why-market-power-ma6ers
(last visited Mar. 19, 2025).


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     107.     According to Zelis’ CEO, “[t]ransforming the healthcare consumer

experience requires collaboration among all of us.”54 (emphasis added). Presumably,

when she wrote “all,” she meant “all,” including Zelis and other Insurers.

     108.     Zelis and other Insurers are direct competitors that have agreed to join,

establish, enable, operate, further, preserve, and conceal the OON payment conspiracy

based in part on commonly-applied methodologies and technologies for the suppression

of payments for claims submi6ed for OON services, which has unreasonably restrained

trade relating to payments made to Providers for OON services.55

     109.     Zelis has entered into numerous wri6en agreements with hundreds of its

horizontally-positioned Insurer competitors to exchange conﬁdential, proprietary, and

competitively-sensitive claims, payment, repricing, and contractual data so as to

collusively suppress payments and payment thresholds for claims submi6ed for OON

services and to ﬁx the payment amounts for claims by Insurers for OON services.

     110.     These agreements require these horizontally-positioned competitors to

share their claims, payment, repricing, and contractual data with Zelis in return for Zelis’

repricing algorithms, tools, and/or methodologies to suppress payments for OON

services.


54Amanda Eisel, The Data Revolution: Coming to a Healthcare Industry Near You, Zelis (Sept. 27,
2023), h6ps://www.zelis.com/blog/the-data-revolution-coming-to-a-healthcare-industry-near-
you/ (last visited Mar. 19, 2025).
55As a reminder, Zelis builds, operates, and manages PPO Networks and provides “repricing”
services. Further, several insurers own, operate, and/or manage PPO Network businesses.


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     111.        The use of such third-party or agent-based pricing algorithms and/or

methodologies is price-ﬁxing when a competitor knows or can readily access information

conﬁrming that the algorithm, tools, and/or methodology is based on claims, pricing, or

contractual information submi6ed by competitors. For example, federal antitrust and

competition regulators regard “replac[ing] once-independent pricing decisions with a

shared algorithm”—just as members of the Zelis conspiracy have accomplished—as

illegal price-ﬁxing.56

     112.      Members of the Zelis conspiracy harmed competition by delegating to Zelis

industry-wide pricing and negotiating authority concerning the payment of claims

submi6ed for OON services. Independent, individualized negotiations between

providers and Insurers are thus made impossible (or a hopeless exercise), suppressing

OON payments far below what they otherwise would be.

     113.      Conspiracy members were able to eﬀectuate the Zelis conspiracy by basing

OON payments on conﬁdential information shared between and among each other, and

through Zelis.




56See Duﬀy v. Yardi Sys., Inc., et al., No. 2:23-cv-01391 (W.D. Wash. Mar. 1, 2024) (ECF No. 149)
(Statement of Interest of the United States of America at 2-3) (when “competitors jointly delegat[e]
key aspects of their decision-making to a common algorithm,” they “deprive the marketplace of
independent centers of decision-making”).


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      2.        Agreements to Conspire and Share Competitively-Sensitive Information
                Between and Among Zelis and Insurers

           a.      Agreements to Conspire to Suppress OON Payments and to Share
                   Information

   114.         To advance the conspiracy, (1) Insurers directly shared competitively-

sensitive business information (“CSI”) between and among each other; (2) Insurers

shared CSI with Zelis; (3) Zelis shared CSI with Insurers; and (4) Insurers shared CSI

through Zelis to other Insurers.

   115.         This ma6er concerns a conspiracy between Zelis and Insurers to jointly

reprice payments to Providers submi6ing claims for performing OON service. When

Zelis obtains private, conﬁdential, hidden-to-the-public, and commercially-sensitive CSI

from hundreds of Insurers involving over $240 billion in payments to Providers, it obtains

knowledge about claims and pricing of OON services from a substantial portion of the

OON Insurer market. Accordingly, Zelis’ Insurers are able to pay Providers an artiﬁcially

and collusively-suppressed price for OON services as there are actually or virtually no

payment sources for OON Providers to which to turn as all or nearly all Insurers are also

participants in Zelis’ OON price-ﬁxing conspiracy.

   116.         Zelis’ OON repricing amounts are based in part on the claims, pricing, and

methodologically-related information shared by other repricers. Through agreements

these repricers have with each other, Insurers can use the relationship they have with one

repricer to gain access to claims and pricing-related information managed by another.




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     117.        Zelis engages in verbal, wri6en, and electronic-based sharing of

information, including claims, pricing, and contract-related information, with its Insurer

clients.

            b.      Verbal Information Sharing/Opportunity to Conspire

     118.        Among other events and meetings, Zelis hosts an “annual conference”

where health insurer personnel are invited to discuss the industry and Zelis’ oﬀerings

with other existing and potential health insurer clients. These verbal communications

have been captured on “ﬁlm.” See Part IV. (E)(9)(f), infra (explaining the extravagant

“Zelis Forum”).

            c.      Wri en and Contract-Based Information Sharing


     119.        Further, Zelis engages in wri6en agreements that contemplate the sharing

and access to competitively-sensitive information, including claims, repricing, and

contractual information.

     120.        Zelis boasts that its RBP pricing product can “[i]mprove accuracy and

reduce frustration with a technology-enabled way to load and manage contracts, apply

real-time edits and regulatory updates, and process pricing.” (emphasis added).57




57    Discover    new      savings   strategies   while    empowering members, Zelis,
h6ps://www.zelis.com/solutions/reference-based-pricing-for-network-
replacement/#:~:text=Zelis%20Open%20Access%20Pricing%C2%AE,regulatory%20updates%2C
%20and%20process%20pricing (last visited Mar. 19, 2025).


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       121.          Zelis also maintains a “Payment Harmonization Index,” developed from a

quantitative survey of 214 healthcare payer executives, 75% of whom worked at health

plans, and the remainder at TPAs.58 According to Zelis, the index “highlights ﬁndings

from payment accuracy executives to oﬀer an outline for the next wave of payment

integrity and cost containment.”59

                d.      Electronic Information Sharing

       122.          Finally, Zelis and its Insurer clients have technological relationships, which

enable electronic sharing of claims, pricing, and contract-related information.

       123.          Supporting the existence of its electronic platform for sharing such claims

and pricing information, Zelis boasts that it has a “99% auto adjudication rate” and uses

“ADI, EDI, or portal integration to make repricing claims easier.”60 As a result, Zelis boasts

that it repriced “82M+ claims ... in 2023,” alone.61 Further, its capabilities allow Insurers

to “[a]utomate claims pricing & strengthen provider contracting negotiations[.]”62




58 Payment Harmonization Index, Zelis, h6ps://www.zelis.com/white-papers/payment-
harmonization-report-2022/(last visited Mar. 19, 2025).
59Kaitlin Howard, Payment Integrity and Cost Containment in Healthcare: A Payment Harmonization
Benchmark, Zelis (Jan. 5, 2023), h6ps://www.zelis.com/blog/payment-integrity-and-cost-
containment-in-healthcare-a-benchmark/ (last visited Mar. 19, 2025).
60 Track the path of every claim with a fully transparent process                     trail,   Zelis,
h6ps://www.zelis.com/solutions/in-network-pricing/ (last visited Mar. 19, 2025).
61   Id.
62   Id.


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       124.         Zelis claims that its information system works with other claims systems.

As explained by Zelis, Zelis’ systems “[i]ntegrate with numerous claims systems,

including FACETS, to enables [sic] more eﬃcient implementations and workﬂows[.]”63

       125.         Zelis’ platform allows for information sharing found on or within contracts.

For example, Zelis’ platform includes the “[a]bility to load contracts on your behalf” and

provides “[r]obust reporting & in-depth contract analysis.”64 Zelis notes that Insurers can

“[l]everage our source pricers for all direct agreements, including Medicare, Medicaid,

commercial, and other government programs. We’ll load and maintain client contracts &

fees schedules, manage the contract inventory, and price claims against them for all plan

types.” (emphases added). As emphasized by Zelis, “[w]e’ll even load contracts for you.”

Zelis’ electronic capabilities allow for the analysis and sharing of “load[ed]” contracts.65

       126.         Zelis admits that its electronic sharing capability “layers” the data from one

PPO with that from other competing PPOs: “Our proven data analytics platform

leverages provider and competitor data with the ability to layer in additional data

elements from your organization or our partners....”66



63   Id. at n.12.
64    Gain      claims    pricing     accuracy and transparency with   Zelis,   Zelis,
h6ps://www.zelis.com/solutions/in-network-
pricing/#:~:text=Advanced%20claim%20pricing%20methodologies,them%20for%20all%20plan%
20types (last visited Mar. 24, 2025).
65   Id.
 Create innovative and competitive network structures, Zelis,
66

h6ps://www.zelis.com/solutions/network-solutions/ (last visited Mar. 19, 2025).


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       127.         Further, Zelis explicitly describes how its improperly pooled information

can be used: “Disruption—Gain a competitive edge in the sales process with integrated

competitor data within your disruption analysis—benchmark against competition to

underscore your strengths and proactively mitigate weaknesses.” (emphases added).67

           128.     Virtually, if not actually, admi6ing that its data sets are based on collecting

 competing Insurers’ information, “Zelis collects data from hundreds of plans and

 thousands of networks.... Zelis specializes in organizing and managing this data to

 support network analytics that you can rely on.” (emphasis added). 68 According to Zelis,

 this process, dubbed “The Zelis Provider Network Data Process,”69 occurs as follows:




           129.     For its RBP service, Zelis acknowledges that it can “[i]mprove accuracy and

 reduce friction with a technology-enabled way to load and manage contracts, apply real-

 time edits and regulatory updates, and process pricing.”70



67   Id.
68   Id.
69   Id. (sourced for above chart).
70   Id. at n.61.


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       130.         Zelis’ CEO explained that Zelis is “aggregating and analyzing data and

pu6ing it back into the hands of payers, providers, and consumers. More speciﬁcally,

Zelis is optimizing data to help payers easily assess, benchmark and create high-

performing networks based on costs, access and quality.” (emphasis added).71 Also: “at

Zelis, we download and process about 27 terabytes of MRF [machine-readable ﬁle] data

each month for just the top four payers.”72 Zelis shares this information back to Insurers.

             3.     Agreements to Share CSI and Conspire between Repricers

       131.         In summary, competitors and Zelis worked together to suppress OON

payments in various ways. Competitors conspired with Zelis and make use of Zelis’

“proprietary” fee schedule. Zelis issued repriced claims based on competitors’ repricing

software. Through agreements Zelis had with its competitors, Zelis allowed its customers

to access claims and pricing-related information maintained by its competitors. And the

direct rivals worked together to “process” claims.

             4.     Insurers Share CSI and Other Related Information with Each Other

       132.         Insurers share conﬁdential, proprietary, and competitively sensitive

information directly with each other.




71   Id. at n.58.
72   Id.


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        5.     Insurers’ Sharing of CSI with Zelis and Using Zelis to Set Prices While
               Knowing Their Competitors Are Doing the Same Is Price Fixing

     133.      In violation of the Sherman Act, Zelis shares CSI with other Insurers,

including “typical,” “standard,” default reference amounts or percentages, or speciﬁc

override MAC amounts or percentages and horizontal competitors share private,

conﬁdential, “proprietary,” and/or competitively-sensitive information.

     134.      Further, when Insurers use Zelis’ algorithms and/or A.I. to set prices, it is

also price-ﬁxing and coordinating price suppression.

     135.      Insurers know, or can readily learn, that their competitors are similarly

transmi6ing information to Zelis to obtain repricing information based on disclosures

made by Zelis as included on its websites.73 If an Insurer is not using Zelis’ repricing

services, they are among the few who are not.

        6.     Insurers’ Widespread Adoption of Zelis’ Repricing Services Have
               Harmed Competition by Precluding Competitive Alternatives

     136.      The pervasive adoption and application of Zelis’ tools, technologies, and

methodologies have harmed competition in the OON insurer market.

     137.      With such widespread adoption and application, Defendants have harmed

competition and have left OON Providers with actually or virtually no available

alternatives from which to seek be6er pricing.



73 This determination as to the existence of price-ﬁxing is readily reachable as Zelis publicizes on
its website that the “top 5” of the nation’s health insurers and how approximately 770 of the
nation’s health insurers are customers of Zelis and use Zelis’ repricing services.


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        7.        As a Per Se Antitrust Violation, Procompetitive Justiﬁcations Do Not
                  MaHer

     138.         The Zelis conspiracy is a per se violation of Section 1 of the Sherman Act. As

a per se violation involving conduct that is inherently wrong, the law contemplates no

procompetitive excuse..

     139.         If Zelis and its Insurer co-conspirators were to argue that Zelis’ repricing

has reduced healthcare costs or led to the increased availability of health insurance—it

would not be true, and, in any event, procompetitive justiﬁcations are not contemplated

under a per se analysis.

        8.        The Zelis Conspiracy’s Existence Is Supported by Direct Evidence of
                  WriHen Agreements Entered into Between Conspirators

             a.      Direct Evidence of Agreements between Zelis and Other Insurers

     140.         Teton County’s healthcare beneﬁt plan manager, Allegiance Beneﬁt Plan

Management, Inc., contracted with Zelis for repricing services. The Board of Teton

County Commissioners considered “[a] pass through fee to Zelis based on Allegiance’s

contract with Zelis for services related to claims editing and payment integrity.”74




74 Board of County Commissioners – Clerk Report, Teton County, Wyoming (Apr. 9, 2024),
h6ps://www.tetoncountywy.gov/DocumentCenter/View/28962/0409-02-Allegiance-Beneﬁt-
Plan-Management-
Agreement#:~:text=Zelis:%20A%20pass%20through%20of%20fees%20to,age%20residing%20in
%20the%20state%20of%20Massachuse6s\ (last visited Mar. 19, 2025).


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       141.       PaciﬁcSource Health Plans, a “health plan serving the Northwest since

1933,” acknowledges that it “has an agreement with Zelis for high-dollar out-of-network

negotiations[.]”75

       142.       In a Winco Holdings, Inc. Employee Beneﬁt Plan, Zelis Healthcare is listed

as Winco’s “Dialysis Cost Containment Program Administrator,” providing “Repricing,

Pre-authorization & Network” services.76 Winco acknowledges that its “Plan has entered

into an agreement with a third-party Dialysis Cost Containment Program Administrator

for purposes of repricing, prior authorization, utilization review, and case

management....”77

       143.       In Cal. Spine & Neurosurgery Inst. v. Agilent Techs., Inc., No. 5:24-cv-05248-

EJD (N.D. Cal. August 16, 2024), ECF No. 1-11 (Ex. 1) (“Cal. Spine”), Zelis sent “San Jose

Neurospine” a “Se6lement Proposal,” listing “Anthem Blue Cross & Blue Shield” as the

“Payor,” in addition to the repricing amount. Likely referring to the “Payor,” the fax

includes the following footer: “This facsimile has been sent by Zelis Healthcare, LLC

(“Zelis”) to those with an interest in the services provided by Zelis under our established

business relationship.” (emphasis added). Id.




75   h6ps://paciﬁcsource.com/article/new-eft-payment-faq
76Employee Beneﬁt Plan, Winco Holdings, Inc. (Jan. 1, 2021), h6ps://beneﬁts.wincofoods.com/wp-
content/uploads/Winco-SPD-2021.pdf at 4 (last visited Mar. 19, 2025).
77   Id. at 38.


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      9.        In Addition to Direct Evidence, Abundant Indirect and Circumstantial
                Evidence Supports the Existence of the Zelis Conspiracy

           a.      Indirect Evidence and “Plus Factors” Corroborate the OON Conspiracy

   144.         The OON insurer market is characterized by at least the following “plus

factors,” which likely can only be explained by the existence of conspiracy:

      a. Collectively high market concentration of conspiracy members;

      b. High barriers to entry;

      c. Suﬃcient motives to conspire;

      d. A history of prior collusion;

      e. Numerous opportunities to collude;

      f. Actions taken against self-interest;

      g. Conspiracy enforcement mechanisms;

      h. Pervasive, systematic, and contract-based requirements to exchange CSI; and

      i. The existence of customary pa6erns and courses of dealing.

When considered along with repricing agreement evidence, these “plus factors” support

the presence of a horizontal price-ﬁxing and price suppression agreement.

           b.      Collectively High Market Concentration of Conspiracy Members

   145.         The applicable geographic market includes all ﬁfty States of the U.S. of

America, the District of Columbia, and all U.S. territories. The relevant product/service

market is the “OON insurer market.” On a number of Insurers basis, where Zelis counts

770 Insurer customers (out of approximately 1,176 insurer entities), Zelis has a market



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share of approximately 65.5%. When considering the unequal size and ﬁnancial strength

of these Insurers, that Zelis counts the top 5 national plans among its customers, and that

studies show that industry consolidation has left the nation’s top three Insurers with an

average of 82.2% market share in each State of the U.S., Zelis’ market share on a

transaction basis is necessarily much higher than 65.5%.

   146.        This market power has enabled the Zelis conspiracy to impose

anticompetitive eﬀects in the relevant market, and is circumstantial evidence of a

conspiracy.

          c.      The Market’s High Barriers to Entry

   147.        Entrance into the OON insurer market is hindered by high barriers. New

market entrants must be able to bear large expenditures of both time and money

necessary to develop a network of healthcare providers large enough to compete against

other Insurers. Even without developing a corresponding PPO, there are signiﬁcant

capital outlays required to operate as an insurer. Entrants must contend with staggering

economies of scale that large, incumbent, nationwide health Insurers possess. Obtaining

name recognition in an industry occupied by longstanding and well-recognized players

presents an additional major hurdle.

   148.        There is also an actuarial risk for new health insurance-related networks.

Participating health Insurers need a stable of healthy premium-paying subscribers to

counteract the costs associated with those subscribers needing healthcare services.



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   149.          As a result of such barriers, the established players in this industry are

further entrenched and protected by participating in the Zelis conspiracy. Also, a new

entrant who might decide against participating in the OON payment conspiracy places

itself at a signiﬁcant competitive disadvantage: its impact on the market would likely be

so small that it would not be able to undermine the Zelis conspiracy members’ collective

ability to impose repriced payment amounts for OON healthcare services.

   150.          Moreover, a market entrant seeking to replicate Zelis’ repricing services

would need signiﬁcant funds to make the cash outlays necessary to purchase or develop

source code, algorithms, and software to manage mass information. The new entrant

would also need funds and staﬀ available to make updates to the technology; and to hire

and train a staﬀ that can, in turn, provide training and support to customers such that the

new technology could eﬀectively reprice OON claims and displace existing repricing

incumbents—all without infringing on patents, copyrights, trademarks, and other

protectible intellectual property as owned, possessed, or controlled by existing repricers.

            d.      Motives To Conspire

   151.          The desire for increased revenue and to avoid public scrutiny of unfair

claims payment practicesincentivize and motivate existing and would-be participants to

conspire.

   152.          First, Zelis and its competitors have the exact same and exceptionally strong

ﬁnancial incentive to conspire: Zelis and competitors both receive a percentage of the



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diﬀerence between the amount billed by providers and the amount ultimately paid by

the Insurers. Zelis thus has a strong incentive to oﬀer the lowest payment possible.

       153.        For example, Auxiant’s Administrative Services Health Care Proposal

“includes claims surveillance technology which seeks to achieve additional cost savings

for the plan ... (Zelis Fee 25% of Savings).78 The proposal also includes ... non-Network

Usual Reasonable Customary Reference Based Pricing (RBP) program. The fee for this

service is 18% of savings.” (emphasis added). 79

       154.        Also, TPAs often pay themselves—just like the repricer—a percentage-of-

savings-based “shared savings fee” or “processing fee,” resulting in signiﬁcant revenue.

UnitedHealthcare executives have indicated that these fees generate approximately $1

billion annually for the company.80 These fees may exceed amounts paid to providers.

       155.        Insurers are just as ﬁnancially motivated to minimize payments to OON

providers. From a proﬁtability standpoint, the less Insurers pay providers, the be6er

return on their overall insurance business venture.




78      Health       Care        Proposal,        Auxiant          (Jan.         1,        2025),
h6ps://mccmeetingspublic.blob.core.usgovcloudapi.net/jacksonmo-meet
14d63987732c418594f89293ddf69c11/ITEM-A6achment-001-
e973084e45804526bc402c0b382af2b.pdf at 2 (last visited Mar. 19, 2025).
79   Id.
80As FAIR Health charges a ﬂat fee, such “savings fees” and “processing fees” can be mostly or
entirely avoided by self-insured entities and self-funded plans. No wonder insurers have strongly
encouraged employers to abandon their previous reliance on FAIR Health.


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     156.        Insurers’ interest in avoiding legal scrutiny for developing their own

repricing eﬀorts is another motive to conspire. In an internal email, Cigna’s Chief Risk

Oﬃcer, Eva Borden, explained that Cigna “cannot develop these charges internally (think

of when Ingenix was sued for creating out-of-network reimbursements)....”81

            e.      Previous Participation in Collusive Eﬀorts

     157.        These co-conspirators and their corporate ancestors have a shared history

of engaging in price-ﬁxing and the collusive suppression of payments made to providers

for OON healthcare services.

            f.      Opportunities To Conspire

     158.        Zelis and its Insurer clients participated in and had numerous opportunities

to share information and to engage in coordinated eﬀorts to establish, further, preserve,

or conceal the OON payment conspiracy, including Zelis’ own facilitation of

communications among competitors.

     159.        Also,   otherwise   competing     Insurers   repeatedly   have   “individual

interactions” where they communicate with each other “‘about how much [Zelis does]

for our organization....’” Further, at these “annual client conferences,” potential Zelis

customers “hear[d]” about existing customers’ experiences “directly from the clients who

have lived it.”



81Chris Hamby, Insurers Reap Hidden Fees by Slashing Payments. You May Get the Bill, New Your
Times (Apr. 7, 2024). h6ps://www.nytimes.com/2024/04/07/us/health-insurance-medical-
bills.html (last visited Mar. 20, 2025).


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       160.        Zelis participates in a variety of healthcare conferences organized by

others.82

       161.        In addition, Zelis hosts an extravagant, annual “Zelis Forum,” most recently

held on May 13-15, 2024 at the Hya6 Regency Lost Pines Resort and Spa in Austin, Texas,

featuring a comedy performance by Jason Sudeikis. 83 Zelis Forum 2024 brought together

“500 Zelis clients and partners.”84 According to Zelis’ Erin Brophy, “[e]ach year, we strive

to dream up the unexpected, transforming every event into an experience our customers

eagerly anticipate and remember long after[.]”85

       162.        With respect to opportunities to collude, several Insurers—including but

not limited to Aetna, Centene, Cigna, Elevance, HCSC, and Humana—are members of

AHIP (formerly, America’s Health Insurance Plans). AHIP “plays an important role in

bringing together member companies and facilitating dialogues to advocate on shared




82These conferences include the SIIA (Self-Insurance Industry Association Spring) Forum, March
25-27, 2024 at the JW Marrio6 Hill Country Resort & Spa in San Antonio, Texas; the SIIA Connect
National Conference in Phoenix on October 8 through 10, 2023; and the 2024 National Medicare
Advantage Conference, November 4-5, 2024 at the Loews Vanderbilt Hotel in Nashville,
Tennessee. Zelis also participated as an “Exhibitor” for the 2024 Annual Healthcare Financial
Management Association (“HFMA”).
83 Claire Hoﬀman, Most Innovative Meetings 2024: Zelis Forum, BizBash (Nov. 18, 2024),
h6ps://www.bizbash.com/bizbash-lists/meetings-conferences/article/22925945/most-innovative-
meetings-2024-zelis-
forum#:~:text=The%20basics:%20Zelis%20Forum%202024,from%20its%20cu6ing%2Dedge%20t
echnology (last visited Mar. 19, 2025).
84   Id.
85   Id.


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interests.”86 Of course, a “shared interest” among AHIP members is controlling OON

payments to providers. AHIP hosts conferences, commi6ee meetings, and board meeting

multiple times a year, including non-public, closed-door meetings.

     163.        Numerous insurer executives hold positions on AHIP’s Board of Directors,

including Gil K. Boudreaux, President and CEO of Elevance; David Cordani, Chairman

and CEO of Cigna; and Maurice Smith, President, CEO, and Vice Chair of HCSC.

            g.      Acts Against Corporate Self-Interest

     164.        Members of the Zelis conspiracy acted against their own respective

corporate interests. Agreements among Insurers and Zelis would—absent a conspiracy—

be counter to the Insurers’ own independent economic interests. If no other insurer had

entered into a repricing agreement with Zelis, no OON Provider would perform services

(possibly except for emergency treatment) for the one insurer that had entered into a

repricing agreement with Zelis. The result would be a single insurer oﬀering depressed

and non-competitive OON payments, leading to its own destruction. So long as there is

an active conspiracy where most or all Insurers use or apply Zelis’ repricing services,

however, such self-defeating eﬀects are negated.




86     Overview     Brochure    2022,    AHIP      (Jan.      2022),       h6ps://ahiporg-
production.s3.amazonaws.com/documents/AHIP-Overview-Brochure-
2022.pdf#:~:text=AHIP%20plays%20an%20important%20role%20bringing%20together,ahead%2
0to%20identify%20opportunities%20and%20challenges%20on at 3 (last visited Mar. 19, 2025).


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   165.        In addition, the Insurers agreed to share with Zelis claims, pricing, or

contractual information. Absent a conspiracy, a single insurer would never elect to share

such competitively-sensitive business information with anyone, much less a horizontally-

positioned payer.

          h.      Conspiracy-Enforcement Mechanisms

   166.        One mechanism used to preserve participation by co-conspirators was to

“ﬁlm” participants, thus minimizing conspiracy defectors. As noted on Zelis’

PR/Marketing ﬁrm DeSantis Breindel’s now-removed webpage, “[t]o leverage [Zelis

referrals] on a larger scale, we turned to the power of ﬁlm. During Zelis’ annual client

conference, we ﬁlmed dozens of clients sharing stories about their experience with

Zelis....” “[F]ilm” of Zelis “clients sharing stories about their experience with Zelis,” is

helpful to keep Zelis conspiracy members in line.

   167.        Enforcement mechanisms are not always negative—carrots often work

be6er than sticks. Repricers’ conferences have regularly taken place at luxury resorts and

hotels.

   168.        Conspiracy members, including Zelis, have been successful in enforcing

and preserving the OON conspiracy. With respect to RBP, Zelis boasts that it has a “120%

client retention rate,” suggesting no client ceases use and in fact recruits others to join.

          i.      Exchange of Private, Conﬁdential, Proprietary, and Competitively-
                  Sensitive Information by Conspiracy Members

   169.        The conspiracy members’ willingness to share CSI is based on the


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knowledge or analysis of readily accessible information indicates that their direct

competitors have agreed to do the same, which has anticompetitive consequences.

       170.          Zelis is using this claims and pricing data to share conﬁdential pricing

information among members of the OON conspiracy to ﬁx and collusively suppress OON

payments.

                j.      Pa ern and Course of Dealing Engaged in by Conspirators

       171.          The Insurers have an established history of forming, maintaining, and

preserving a similar OON payment suppression conspiracy.

       172.          Zelis stood at the ready to form, maintain, preserve, enforce, and conceal its

conspiracy after the FAIR Health exclusive use period. Accordingly, Zelis proudly

emphasizes the long-term nature of its relationships with Insurers. Zelis boasts that it

“has been with you at the forefront of modernizing the business of healthcare for 20

years[.]”87

      E. Defendants’ Eﬀorts to Suppress Payments for OON Services Have Been
         Enormously Successful and Have Destroyed Competition in the OON Insurer
         Market.

       173.          Payment amounts to Providers performing OON services have cratered

following the FAIR Health ﬁve-year, exclusive-use period.

       174.          The FAIR Health period contrasts starkly to the current situation where

OON invoiced amounts are routinely cut.



87   Id. at n. 11.


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V.        Each New Act by Defendants to Further or Preserve the Conspiracy Has
          Resulted in a Newly-Started Violation Period and Eﬀorts to Conceal the
          Conspiracy Have Tolled any Applicable Statute of Limitations

     A.     Zelis and the Other Insurers Are Engaging in a Continuing Antitrust
            Violation by Renewing Their Conspiracy with New and Independent Acts.

     175.      During the Class Period, Zelis and the other Insurers continue to underpay

Plaintiﬀ and members of the Class. Each meeting (whether bilateral or multi-lateral),

communication, episode of information sharing, and individual eﬀort to “reprice” OON

service claims is an overt act that begins a new statute of limitations as each newly-

transpired event advances the objectives of the Defendants’ and co-conspirators’ OON

conspiracy.

     B.     Fraudulent Concealment.

     176.      The eﬀorts, conduct, statements, and omissions taken to establish, further,

and enforce the OON conspiracy were performed in secret and Plaintiﬀ and class

members could have had no knowledge of the conspiracy, whether actual, constructive,

or otherwise. Zelis’ collusive repricing eﬀorts, as indicative of antitrust violations, to

Plaintiﬀ’s awareness, have not been reported in the press and, so far, have evaded

antitrust-based litigation. There is no date, so far, of which Plaintiﬀ is currently aware,

that has begun to run any applicable statute of limitations.

     177.      Throughout the Class Period, as deﬁned below, Defendants eﬀectively,

aﬃrmatively, and fraudulently concealed the conspiracy from Plaintiﬀ and the other

members of the Class.


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     178.       Because the OON conspiracy was expansive, encompassing, and secret,

there was no practical alternative to which Plaintiﬀ or members of the Class could turn

to obtain greater payment for OON services. Because Insurers had insight into the

repricing eﬀorts by repricing rivals through Zelis, Plaintiﬀ and members of the Class

could not escape the impact of the Zelis conspiracy even through insurers using repricer

competitors.

     179.       Several examples and occurrences indicate that Defendants a6empted to

conceal the OON conspiracy:

           Facilitating concealment, while claiming its services as “defensible” (Zelis

            claims that its “Established Reimbursement Solution®” tool for “Out-of-

            Network claims” solutions helps to “[m]aximize acceptance and minimize

            appeals with a pricing solution that delivers defensible, geographically and

            adjusted pricing recommendations.”).88

           Zelis’ seeking to avoid compliance with a subpoena in other litigation, asserting

            that its “pricing and repricing reports” are “conﬁdential business information”

            (In re EthiCare Advisors, Inc., No. 20-1886 (WJM), 2020 WL 4670914, at *4, n.4

            (D.N.J. Aug. 12, 2020) (citing Peterson v. Cigna Health and Life Ins. Co., BER-1-518-

            18, N.J. Super. Ct. (Law Division) [ECF No. 24])).




88 OON Solutions Suite, Zelis, h6ps://www.zelis.com/solutions/out-of-network-solutions/ (last
visited Mar. 19, 2025).


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         Claiming that its tools are “defensible,” while simultaneously thwarting

          disclosure by asserting that its methodologies are conﬁdential and

          “proprietary,” is an a6empt to legitimize and fraudulently conceal the illicit

          nature of the OON conspiracy.

         Repricers, including Zelis, as well as the Insurers, exerting substantial and

          prolonged eﬀorts to keep the speciﬁcs of their relationships, the ways that

          repricing amount are calculated, and the conspiracy to artiﬁcially suppress

          payments for OON healthcare services out of view of patients and Providers.

         On Zelis’ purported claim of the “proprietary” nature of Zelis’ claims repricing

          tools, technologies, and methodologies, Zelis refusing to divulge to a Provider

          which particular repricing tool, technology, or methodology was applied with

          providers. As such, the OON Provider has no way of knowing if Zelis’

          calculation was accurate or even appropriate.

   180.       The conspiracy, by its very nature, was and is self--concealing.Before recent

investigation, Plaintiﬀ and other Providers considered the OON Insurer market to be

competitive. A reasonable person under the circumstances would not have been

previously alerted to investigate the legitimacy of Defendants’ unlawful conduct.




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VI.        Anticompetitive Eﬀects of Defendants’ Conduct, Damages, and Antitrust
           Standing

      A.        Defendants’ Anticompetitive Eﬀects

      181.         Defendants’ anticompetitive conduct had the following eﬀects, among

others:

           a. Price competition has been restrained or eliminated with respect to paying
              Providers for OON healthcare services;

           b. Payments for OON healthcare services rendered to patients have been ﬁxed,
              suppressed, stabilized, or maintained at artiﬁcially deﬂated levels;

           c. Plaintiﬀ and members of the Class have been deprived of free and open
              competition; and

           d. Plaintiﬀ and members of the Class have received payments at artiﬁcially
              suppressed price levels for OON healthcare services.

      182.         The purpose and resulting impact of the Zelis conspiracy is to decrease, ﬁx,

stabilize, and/or maintain the price levels for payments OON providers. As a direct and

foreseeable result, Plaintiﬀ and members of the Class have been damaged by receiving

payments for OON services at artiﬁcially suppressed prices during the Class Period.

      B.        Article III and Antitrust Damages

           1.      Collusively-Suppressed OON Payment Amounts

      183.         The eﬀects of Defendants’ conduct have damaged Plaintiﬀ and Class

members through receipt of suppressed payments for OON services during the Class

Period.




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   184.       Defendants’ conspiratorial conduct, along with that of competitors and the

other co-conspirators, caused Plaintiﬀ and members of the Class direct and proximate

harm.

   185.       When the Insurer applies Zelis-enabled repricing, there often remains a

substantial diﬀerence between what the OON Provider is paid and the amount billed. As

Scanlan testiﬁed, “we [Allied National, Inc., a healthcare insurance company payer]

usually pay something less than what that billed amount is.” Butler, 1:17-cv-17-00050 (D.

Mont. Aug. 30, 2018), at ECF 94-4 at 2.

   186.       A representative from Zelis conﬁrmed Zelis’ role in paying OON Providers

at amounts less than what was billed. When asked, “[w]hen you say accept the ERS rates,

does that mean the ERS rates might be something less than [what] the provider billed?,”

Zelis’ Robert Jackson responded: “Yes.” Butler, 1:17-cv-00050 (D. Mont. Oct. 5, 2018), at

ECF 118-11 at 3.

   187.       Zelis repeatedly asserts that its repricing tools are highly eﬀective. With

respect to the eﬀectiveness, which is to say, the “retention” of the “savings” or

“acceptance” by providers, Mr. Jackson testiﬁed that “90 percent of the providers who

receive claims priced by ERS accept the ERS rate.” Id. Zelis admits that its services are

eﬀective in downwardly adjusting payment amounts for Providers providing OON

services.




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     188.     By reason of the alleged violations of the antitrust laws described herein,

Plaintiﬀ and the Class have sustained injury to their businesses or property, having

received lower payments for performing OON services than they would have been paid

in the absence of Defendants’ illegal contract, combination, or conspiracy and, as a result,

have suﬀered damages.

     189.     The pervasive use and application of Zelis’ technologies and methodologies

have caused widespread and substantial harm to Providers. As included on Zelis’

webpage, “Craig, COO of TPA” apparently said: “‘We’re the nation’s largest Taft Hartley

TPA and have been working with our partner Zelis for the past several years. Our clients

have enjoyed average savings of 42%.’”89




89 Market Based Pricing with Zelis, Zelis, h6ps://www.zelis.com/solutions/out-of-network-
solutions/market-based-pricing/ (last visited Mar. 19, 2025).


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   190.      Zelis and other co-conspirators have directly and proximately caused

Plaintiﬀ and members of the Class harm and damages resulting from the OON

conspiracy. By receiving collusively-determined and suppressed payments in amounts

less than what they would have received for competitively-priced OON healthcare

services, Plaintiﬀ and members of the Class have suﬀered Article III damages.

   191.      The repricing to Providers performing OON services include an

“Agreement,” which “outlines Provider’s willingness to accept ... The Repriced Amount

... .” Id. This “Agreement” also includes a prohibition against “balance bill[ing],” which

speciﬁes the “Provider” as the target of repricing resulting from Zelis conspiracy

members’ collusive conduct, re-conﬁrms the damages experienced by the target of the

collusion, and prevents their target from mitigating damages or becoming “whole” again

from a damages perspective. Plaintiﬀ and members of the Class have been harmed

precisely in the ways Congress intended the federal antitrust laws remedy. Plaintiﬀ and

members of the Class have suﬀered antitrust damages and possess antitrust standing.

  C. Antitrust Standing

   192.      The harm and damages suﬀered by Plaintiﬀ and members of the Class

constitute an antitrust injury of the type that Congress, through the enactment of the

antitrust laws including Section 1 of the Sherman Act, meant to regulate, dissuade, and

prevent.




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   193.        Due to OON underpayments as communicated at repriced amounts there

is no question that the intended victim of this antitrust conspiracy is the Plaintiﬀ and

Class members, that such Providers have suﬀered damages, that such Providers have

sustained antitrust injury and possess antitrust standing.

                                CLASS ACTION ALLEGATIONS

   194.        Plaintiﬀ satisﬁes Federal Rule of Civil Procedure 23 and all other pertinent

federal class certiﬁcation requirements to represent the Class described herein.

   195.        Plaintiﬀ invokes Rule 23(a), (b)(2), and (b)(3) on behalf of the following

Class:

         All Service Providers who received one or more out-of-network payments
         that were downwardly-adjusted by Zelis or Insurers for out-of-network
         healthcare services in the United States, including the District of Columbia
         and U.S. territories, from June 13, 2016 to the present (the “Class Period”).

Excluded from the Class are Zelis, any of its subsidiaries; any of its oﬃcers, directors and

employees; any entity in which Zelis has a controlling interest; and any aﬃliate, legal

representative, heir, or assign of Zelis. Also excluded from the Class are the Insurers, any

of their subsidiaries; any of their oﬃcers, directors, and employees; any entity in which

an insurer has a controlling interest; and any aﬃliate, legal representative, heir, or assign

of any insurer. Also excluded are any federal, state, or local governmental entity; any

judicial oﬃcer presiding over this action; the members of the judicial oﬃcer’s immediate

family and staﬀ; and any juror assigned to this action.




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     196.       Plaintiﬀ provided OON services to patients who maintained insurance, but

whose insurance did not include Plaintiﬀ among the policy’s, the plan’s, or the network’s

in-network providers. Plaintiﬀ is a member of the Class it seeks to represent.

I.        Plaintiﬀ Satisﬁes All Rule 23(a) Requirements.

     A.      The Class Is Suﬃciently Numerous

     197.       The deﬁned Class is readily identiﬁable and one for which suﬃcient and

adequate electronic records exist.

     198.       Due to the nature of the trade and commerce involved, Plaintiﬀ believes

thousands of Class members exist. Defendants know or have records suﬃcient to

determine the exact number of Class members and their identiﬁes.

     B.      Plaintiﬀ’s Claims Are Typical of the Members of the Class

     199.       Plaintiﬀ’s claims are typical of Class members’ claims and invoke the same

theories of liability, arise from the same course of unlawful conduct, and show that injury

of healthcare providers has occurred in the same way, involving the same or similar

mechanisms: Defendants paid Providers less for the providers’ OON services than

Defendants would have absent the existence of the Zelis conspiracy.

     C.      Plaintiﬀ Will Adequately Protect the Interests of the Class

     200.       Plaintiﬀ will fairly and adequately protect the interests of the Class

members as Plaintiﬀ’s interests are aligned with, and not antagonistic to, the interests of

Class members.




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      201.        Plaintiﬀ has retained counsel competent and experienced in prosecuting

class actions, litigating antitrust ma6ers, and both in combination.

      D.      This Case Involves Legal and Factual Questions that Share Common
              Answers with the Class

      202.        The resolution of Plaintiﬀ’s claim shares many, if not all, of the same legal

and factual inquiries and related resolutions as would a similar action brought on behalf

of a proposed Class.

II.        Common Legal and Factual Questions Predominate over Individual Questions
           and Answers.

      203.        Common legal and factual questions and answers predominate over

individual or individualized questions, including the following:

          Whether Zelis, the Insurers, and their co-conspirators engaged in an agreement,
           combination, or conspiracy to suppress, maintain, or stabilize payments made to
           Providers for their OON services as part of interstate commerce between and
           among the States, the District of Columbia, and U.S. territories, and in the U.S.;

          The identity of the conspiracy’s participants;

          The conspiracy’s duration;

          The acts performed by Zelis, the Insurers, and their co-conspirators in furtherance,
           maintenance, enforcement, preservation, or concealment of the conspiracy;

          Whether the conspiracy violated Section 1 of the Sherman Act, 15 U.S.C. § 1;

          The eﬀect of the conspiracy on the price of OON services performed in the U.S.,
           the District of Columbia, and U.S. territories during the Class Period;

          Whether Plaintiﬀ and members of the proposed Class suﬀered antitrust injury as
           a result of the Zelis conspiracy;



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          The appropriate method for measuring damages for injury suﬀered by Plaintiﬀ
           and members of the Proposed Class; and

          Whether Plaintiﬀ and members of the Class are entitled to injunctive relief, and
           the form, nature, and extent thereof.

       204.       Many, if not all of the above factual and legal questions are commonly

shared inquiries between Plaintiﬀ and members of the proposed Class.

       205.       To the extent there might be diﬀerences between those experiences of

Plaintiﬀ and Class members, such diﬀerences relate to considerations regarding the

extent, amount, or timing of the injuries at issue and do not defeat class certiﬁcation.

III.       A Class Action Is Superior to Other Methods of Dispute Resolution

       206.       Here, for the fair and eﬃcient adjudication of this controversy, a class action

is superior to other available methods because:

           1) individual joinder of all class members is impractical;

           2) a class action will eliminate the possibility of duplicative litigation;

           3) prosecution of separate actions by individual members of the proposed Class
              would create the risk of inconsistent or varying decisions and adjudications,
              creating uncertain and potentially incompatible standards for adjudicating the
              claims and defenses asserted in this action;

           4) the relatively small amount of damages suﬀered by individual members of the
              proposed Class, when compared to the expense and burden of individual
              prosecution of their individual claims, preclude feasible and practical
              individual actions to seek redress for the violations alleged; and

           5) individual litigation would greatly magnify the delay and expense to all parties
              and to the court system. For these reasons, a class action will reduce case
              management diﬃculties and provide the beneﬁts of unitary adjudication,
              economy of scale, and comprehensive supervision by a single court.


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   207.      Also supporting the superiority of use of the class action mechanism, the

conspiracy members have acted on grounds generally applicable to the Class, making

ﬁnal injunctive relief appropriate as applied to the Defendants and as of beneﬁt to the

members of the proposed Class as a whole.

                                   CAUSE OF ACTION

                 Count I: Horizontal Conspiracy in Restraint of Trade
              in Violation of Section 1 of the Sherman Act, 15 U.S.C. § 1

   208.      Plaintiﬀ incorporates the above allegations as if set forth herein.

   209.      Beginning no later than June 13, 2016, Zelis, the defendant Insurers and

other Insurers, and their co-conspirators created and executed a continuing contract,

combination, or conspiracy to unreasonably restrain interstate trade and commerce.

   210.      The contract, combination, or conspiracy alleged herein has consisted of a

continuing horizontal agreement between and among Zelis, the defendant Insurers and

other Insurers, and all of their co-conspirators to knowingly and collectively use Zelis’

repricing tools to collusively ﬁx payment amounts for services performed by OON

providers in the U.S. This conspiracy has caused Plaintiﬀ and Class members to receive

artiﬁcially suppressed payments for performance of OON services during the Class

Period.

   211.      The contract, combination, or conspiracy alleged herein constitutes a

horizontal conspiracy between and among direct competitors participating in the OON

insurance market.


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   212.       In the alternative, the contract, combination, or conspiracy to unreasonably

restrain trade and commerce alleged herein has taken the form of a hub-and-spoke

conspiracy in which Zelis served and continues to serve as the “hub,” the agreements

between Zelis and Insurers, and their co-conspirators to use Zelis’ repricing tools served

and continue to serve as “spokes,” and the agreements between the ends of diﬀerent

“spokes” to use Zelis’ repricing tools to reprice payments to providers for OON services

at artiﬁcially suppressed levels served and continue to serve as the “rim.”

   213.       The unlawful acts and omissions of Zelis, the Insurers, and their co-

conspirators in establishing, maintaining, furthering, reinforcing, concealing and/or

preserving the conspiracy and its objectives include, but are not limited to, the following:

      Zelis sold and operated its proprietary analytical tools to determine the amounts
       of payment for OON services performed by OON Providers;

      Zelis’ co-conspirators, including other Insurers, facilitated the use of Zelis’
       analytical pricing tools by submi6ing their conﬁdential, proprietary, and
       competitively-sensitive claims and pricing data to Zelis, often in real time;

      Zelis’ co-conspirators, including Insurers, delegated the processing and pricing of
       OON claims to Zelis, knowing that Zelis would use their claims and pricing data
       to set payment prices for OON healthcare claims;

      Zelis and its co-conspirators, including the Insurers, paid claims for OON
       healthcare services at rates or payment levels as determined by Zelis’ pricing tools;

      Zelis, the Insurers, and co-conspirators, including non-defendant Insurers, used
       many methods of bilateral and multilateral communication about claims, pricing,
       and payments of claims submi6ed for OON healthcare services, including their
       use and endorsement of Zelis’ repricing tools, all having the purpose and eﬀect of
       establishing, maintaining, furthering, reinforcing, concealing and/or preserving
       their anticompetitive scheme; and


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      Zelis, the Insurers, and co-conspirators engaged in eﬀorts to conceal the Zelis
       conspiracy, the methodologies, calculations, and overrides used in determining
       OON payment levels, and the identities of its participants.

   214.       The acts and omissions by Zelis, the Insurers, and their co-conspirators in

establishment, maintenance, furtherance, reinforcement, and concealment of their

conspiracy to restrain trade were authorized, ordered, and performed by the Defendants’

and their co-conspirators’ oﬃcers, employees, agents, or representatives while actively

engaged in managing their interstate operations.

   215.       Zelis, the Insurers, and their co-conspirators possess market power in the

relevant antitrust market for payments made to OON Providers by the Insurers

composed of private Insurers, PPOs, MCOs, self-funded plans, and self-insured entities.

   216.       The relevant geographic market is the U.S., including all ﬁfty states, the

District of Columbia, and its territories.

   217.       Zelis has caused past and continuing anticompetitive eﬀects in the form of

artiﬁcially suppressed payments of claims.

   218.       As a direct and proximate result of past and continuing violations of Section

1 of the Sherman Act by members of Zelis conspiracy, Plaintiﬀ and members of the Class

have been injured in their business or property and will continue to be injured in their

respective businesses and properties by receiving lower payments for OON claims than

they would have received, absent the conspiracy.

   219.       The Zelis conspiracy is a per se violation of Section 1 of the Sherman Act.



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   220.       As the violations at issue include per se violations of Section 1 of the

Sherman Act, no delving into procompetitive justiﬁcations or excuses is needed or

permi6ed.

   221.       In the event that a presiding Court determines that the violations are not

per se-based, there are no procompetitive justiﬁcations or excuses for the Zelis conspiracy

and any such justiﬁcations could have been achieved through less restrictive means.

   222.       In the alternative, the Zelis conspiracy violates Section 1 of the Sherman Act

under either a “quick look” or a full “rule of reason” analysis. The combination and

conspiracy alleged had these eﬀects, among others:

      Price competition in the payment for OON healthcare services has been restrained,
       suppressed, and eliminated as to interstate commerce in the U.S.;

      Plaintiﬀ and members of the Class who directly received payments for their
       respective OON healthcare services from Zelis, the Insurers, or their co-
       conspirators, including their respective divisions, subsidiaries, and aﬃliates, were
       deprived of the beneﬁts of free and open competition with respect to the prices
       paid for those OON services.

   223.       Defendants’ anticompetitive acts had a direct, substantial, and foreseeable

eﬀect on interstate commerce by suppressing and ﬁxing payments for claims submi6ed

for OON services throughout the U.S. as Defendants provide repricing and payment-

related services throughout the U.S., the District of Columbia, and U.S territories.

   224.       The conspiratorial acts and combinations have caused unreasonable

restraints in the OON insurance market.




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   225.          Plaintiﬀ and members of the Class have been injured and will continue to

be injured in their respective businesses and properties by receiving smaller payments

for their performance of OON services from Zelis, the Insurers, and their co-conspirators

than they would have been paid absent the conspiracy.

   226.          The contract, combination, coordination, understanding, agreement,

collusive conduct, or conspiracy is a per se violation of the federal antitrust laws.

   227.          Plaintiﬀ and members of the Class are entitled to an injunction against all

members of the Zelis conspiracy, including Zelis, the Insurers, and their co-conspirators,

to prevent and restrain their unlawful conduct.

                                     REQUEST FOR RELIEF

   WHEREFORE, Plaintiﬀ requests that the Court grant the following relief:

   a. Certify this action as a class action under Rule 23(a), (b)(2), and (b)(3); appoint

Plaintiﬀ as Class representative and its counsel as Class Counsel; and direct that notice of

this class action as provided by Rule 23(c)(2) be given to members of the Class;

   b. Declare that the conspiracy alleged herein violates Section 1 of the Sherman Act,

15 U.S.C. § 1;

   c. Enter judgment for Plaintiﬀ and the Class against Defendants for all available

damages, including pre- and post-judgment interest and treble damages, sustained in the

form of claim underpayments, lost revenue and proﬁts, and all other economic harm

resulting from Zelis’ and the Insurers’ violations of the Sherman Act;



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    d. Injunctive relief enjoining Defendants, the Insurers, and their co-conspirators, and

 those acting in concert with them, from continuing, maintaining, furthering, reinforcing,

 concealing, preserving, and/or renewing the conduct, conspiracy, or combination and

 from entering into any other contract, conspiracy, or combination having a similar

 purpose or eﬀect, and from adopting or following any practice, plan, program, or device

 from having a similar purpose or eﬀect, and/or from adopting or following any practice,

 plan, program, or device having a similar purpose or eﬀect caused by any further

 violation of antitrust law;

    e. Award Plaintiﬀ’s and the Class members’ costs and expenses of prosecuting this

 action, including all reasonable a6orneys’ fees as permi6ed by law; and

    f. Such other and further relief as the Court may deem equitable and just.

                                 DEMAND FOR JURY TRIAL

    Plaintiﬀ demands a trial by jury, pursuant to Rule 38(b), of all issues so triable.

Dated: March 31, 2025                         Respectfully Submi6ed,
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